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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 1:21-CV-23881-GAYLES/TORRES

  YAMIL AVALOS,
  YOISEL CABRERA TRUJILLO,
  Et al.,
          Plaintiff,

  vs.

  PIKE ELECTRIC, LLC,

        Defendants.
  ______________________________/

                           NOTICE OF MEDIATOR SELECTION

         Plaintiffs, Yamil Avalos, Yosiel Cabrera Trujillo, Jorge Deras, Eduardo Diaz Walker, Juan

  Jesus Fernandez Achoy, Leonardo Florentino Fernandez Achoy, Robert Gomez Borges, Samuel

  Gonzalez Rodiles, Antonio Llano Colome, Raul Mayans, Alberto Miranda, notices the Court that

  the parties complied with the Court’s Order Setting Trial [ECF No. 9] and its Order entered on

  April 1, 2022 and agreed to utilize Paul Penichet, as mediator.

         Dated this 20th day of May 2022.

                                                       s/Brian H. Pollock, Esq.
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